
Dewey, J.
This case has been considered by the court in connexion with the case of Gelott v. Goodspeed, (ante, 411,) and the views expressed in the opinion given in that case fully sustain the ruling in the present, as given at the trial. Ordinarily, it is quite sufficient to call one of several subscribing witnesses to a deed, to prove its execution sufficiently to authorize the reading of it to the jury.
As to the other ground for a new trial, the communication made by one of the parties to a juror pending the trial, we see nothing to justify our interference for that cause. The communication was one that might have been made without *415any purpose to influence the juror, and there was nothing done calculated to bias his mind. Waiving all question as o the matter being one open to exception at all, we see no reason for setting aside the verdict for the communication made to the juror. Exceptions overruled.
